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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-125 GEB
12                               Plaintiff,             STIPULATION AS TO RESPONSE TO MOTION
                                                        TO COMPEL DISCOVERY AND ORDER
13                         v.
                                                        DATE: January 12, 2018
14   BENJAMIN MACIAS,                                   TIME: 2:00 a.m.
                                                        COURT: Hon. Kendall J. Newman
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, Jan Karowsky, hereby stipulate and request that the Court

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      STIPULATION AND [PROPOSED] ORDER                  1
           Case 2:15-cr-00125-DJC-CKD Document 98 Filed 01/05/18 Page 2 of 2


 1 order the government’s brief responding to defendant’s motion to compel discovery be due on January

 2 5, 2018.

 3         IT IS SO STIPULATED.

 4

 5
     Dated: January 2, 2018                              MCGREGOR W. SCOTT
 6                                                       United States Attorney
 7
                                                         /s/ PAUL HEMESATH
 8                                                       PAUL HEMESATH
                                                         Assistant United States Attorney
 9

10
     Dated: January 2, 2018                              /s/ JAN KAROWSKY
11                                                       JAN KAROWSKY
12                                                       Counsel for Defendant
                                                         BENJAMIN MACIAS
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16                                       FINDINGS AND ORDER

17         IT IS SO FOUND AND ORDERED.

18 Dated: January 5, 2018

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      STIPULATION AND [PROPOSED] ORDER               2
